              IN THE UNITED STATES DISTRICT COURT FOR THE                F~3 2 6 2~21
                     EASTERN DISTRICT OF TENNESSEE
                             Greeneville Division                 Clerk, U.S. U1srn -t Court
                                                                Eastern District of Tennessee
                                                                       At Greeneville
   IN THE MATTER OF SEARCH OF          )
   STORED ELECTRONIC DATA              )
   CONTAINED IN FOUR CELLULAR          )          No . 2:21-MJ- 5 5
   PHONES SEIZED FROM NISSAN           )
   XTERRA                              )



                      AFFIDAVIT IN SUPPORT OF APPLICATION
                   FOR SEARCH WARRANT AND SEARCH WARRANT

           I, Brandon G. Johnson, Task Force Officer, United States Department of Justice,

   Drug Enforcement Administration , being duly sworn under oath, states as follows :


                      INTRODUCTION AND AGENT BACKGROUND



    1. I, Brandon G. Johnson, I make this affida vit in support of an application under Rule

       41 of the Federal Rules of Criminal Procedure for a search warrant authorizing the

       examination of property-an electronic device-which is currently in law

       enforcement possession, and the extraction from that property of electronically stored

       information described in Attachment B.

   2. I am an investigative or law enforcement officer within the meaning of Section

       2510(7) of Title 18 of the United States Code, that is, an officer of the United States

       who is empowered by law to conduct investigations of, and to make arrests for,

       offenses enumerated in Section 2516 of Title I 8 of the United States Code.

   3. I am currently employed as a Drug and Narcotics Investigator with the Kingsport

       Police Department, assigned to the U.S . Drug Enforcement Administration (DEA) as

       a Task Force Officer, and have been so assigned for one (1) year, and two (2) months .




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      Prior to my assignment with the DEA, I was a Drug and Narcotics Investigator and

      Patrol Officer with the Kingsport, TN Police Department for four (4) years. Prior to

      my employment with the Kingsport Police Department, I was a Patrol Officer with

      the Bluff City Police Department in Bluff City, Tennessee for approximately four (4)

      years. I was trained as a Police Officer at the Walter State Basic Police Academy.

      While at the Walter State Basic Police Academy, I received training in drug

      recognition, drug investigation and drug law prosecution. During the last nine (9)

      years of my law enforcement career, I have attended various classes/courses which

      specialize in the techniques and laws of criminal and drug investigations. The

      training included information that directly relates to possession, manufacturing and

      distribution of illegal narcotics including marijuana, methamphetamine, cocaine,

      heroin and prescription narcotics. During my employment as a Drug and Narcotics

      Investigator and DEA Task Force Officer, I have participated in multiple

      investigations involving the seizure of marijuana, methamphetamine, cocaine and

      prescription narcotics, the seizure of narcotic related records and other types of

      evidence that document a criminal organization's activities in both the manufacturing

      and distribution of controlled substances. To successfully conduct these

      investigations, I have utilized a variety of investigative techniques and resources,

      including physical and electronic surveillance and various types of informants and

      cooperating sources. Through these investigations, my training and experience, and

      conversations with other experienced Agents and law enforcement personnel, I have

      become familiar with the methods used by traffickers to smuggle and safeguard

      narcotics, to distribute narcotics, and collect and launder related proceeds. I am



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      aware of the sophisticated tactics they routinely use to attempt to thwart any

      investigation of their narcotics organizations.


   4. This affidavit is intended to show only that there is sufficient probable cause for the

      requested warrant and does not set forth all of my knowledge about this matter.


                      IDENTIFICATION OF DEVICE TO BE EXAMINED

   5. The property to be searched is four cellular telephones, specifically:

      (I) a blue Motorola Verizon cellular telephone, model: XT2052-2PP;

      (2) a sil ver iPhone, model Al 549, IMEI: 359238065287123 ;

      (3) a holographic silver Samsung cellular telephone in black case, Model : SM-

      S515DL(GP), IMEi: 3545641 I 084 I 332; and

      (4) a black Samsung cellular telephone in black case with metal ring, IMEI:

      354232113539622.


      These cellular telephones, hereinafter the " Devices", were located and seized from a

      white Nissan Xterra occupied by BARRY LYNN JONES and MEGAN BOWLES on

      January 15, 2021 . The Devices are currently located in evidence locker number 2 at the

      DEA Johnson City Post of Duty in Johnson City, Tennessee.


                          STATEMENT OF PROBABLE CAUSE


   6. The United States, including the Drug Enforcement Administration, is conducting a

      criminal investigation of BARRY JONES regarding possible violations of 21 U.S .C.

      §841 (a)( I), distribution and possession with the intent to distribute

      methamphetamine, a Schedule II controlled substance; 21 U.S.C. §846, conspiracy to



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   24. 1vlanner of execution. Because this warrant seeks only permission to examine a

      device already in law enforcement's possession, the execution of this warrant does

       not involve the physical intrusion onto a premises. Consequently, I submit there is

      reasonable cause for the Court to authorize execution of the warrant at any time in the

      day or night.

                                            CONCLUSION

   25 . Based on the foregoing , I submit that there is probable cause to believe that the Devices

      contains evidence of drug trafficking, specifically violations of Title 21 USC 841(a)(l)

      and    846,     Distribution   of Methamphetamine       and   Conspiracy     to   Distribute

      Methamphetamine, respectively.




      I declare under the penalty of perjury that the foregoing is true and correct to the best

   of my knowledge and belief.


                                      Respectfully submitted,




                                                           Administration, Task Force Officer


   Subscribed and sworn to before me on FebruaryJ ? , 2021.




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                                       ATTACHMENT A

   The property to be searched is four (4) cellular telephones, specificall y:

      (1) a blue Motorola Verizon cellular telephone, model: XT2052-2PP ;

      (2) a silver iPhone, model A1549, IMEi: 359238065287123 ;

      (3) a holographic silver Samsung cellular telephone in black case, Model: SM-

      S515DL(GP), IMEI: 354564110841332; and

      (4) a black Samsung cellular telephone in black case with metal ring, IMEi:

      354232113539622.

      These four phones are collectively referred to as "The Devices." The Devices were

      seized from a white Nissan Xterra, Kingsport, Tennessee, on January 15, 2021 during

      the arrest of MEGAN BOWLES and BARRY JONES and are currently in the

      custody of the Drng Enforcement Administration, and located in the Eastern District

      of Tennessee. This warrant authorizes the forensic examination of The Devices for

      the purpose of identifying the electronically stored infonnation described in

      Attachment B.




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                                       ATTACHMENT B

          The items to be seized include data found in the storage medium of the Devices,

   specifically the data described below:

   All records stored on the Devices described in Attachment A that relate to violations of

   Title21 U.S.C. § 841(a)(l)or21 U.S.C. 846, including:

              a. Lists of customers and related identifying information;


              b. Types, amounts, and prices of drugs trafficked as well as dates, places, and

                   amounts of specific transactions ;


              c. Any infom1ation related to sources of drugs (including names, addresses,

                   phone numbers, or any other identifying information);


              d. Phone numbers and/or contact information for associates;


              e.   Photographs depicting drugs, drug paraphernalia, drug proceeds, firearms

                   or knovm drug associates and coconspirators;


              f.   Text messages related to drug acti vity, illegal possession of firearms or

                   probative of conspiracy to distribute drugs;


              g. Evidence of user attribution showing who used or owned the phones at the

                   time the things described in this warrant were created, edited, or deleted,

                   such as logs, phonebooks, saved usernames and passwords, documents,

                   and browsing history;


          As used above, the terms "records" and "information" include all of the foregoing

   items of evidence 111 whatever form and by whatever means they may have been created


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   or stored, including any fom1 of computer or electronic storage (such as flash memory or

   other media that can store data) and any photographic form.




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